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 5
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )
                                       )
12             Plaintiff,              )         D.C. NO. 2:10-MJ-327 GGH
                                       )
13        v.                           )         APPLICATION AND ORDER
                                       )         FOR UNSEALING INDICTMENT
14   CHRISTOPHER JACKSON,              )
                                       )
15             Defendant.              )
16        On November 9, 2010, the complaint was filed in the above-
17   referenced case.    Since the defendant has now been arrested, it is
18   no longer necessary for the complaint or this case to be sealed.
19   The government respectfully requests that the complaint and this
20   case be unsealed.
21   DATED: November 15, 2010                    BENJAMIN B. WAGNER
                                                 United States Attorney
22
23                                         By:/s/ MATTHEW D. SEGAL
                                              MATTHEW D. SEGAL
24                                            Assistant U.S. Attorney
25                                         ORDER
     SO ORDERED:
26
     DATED: November 15, 2010                        /s/ Gregory G. Hollows
27                                               HON. GREGORY G. HOLLOWS
                                                 U.S. Magistrate Judge
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                                             1
